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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION



                                       )
                                       (
JOHN L. BULLOCK,                       (
                                       )
                                       )
                                       (
            Plaintiff,                 (
                                       )
                                       )
                                       (
vs.                                    (
                                       )       No. 10-2482-SHM-cgc
                                       )
                                       (
WORLD SAVINGS BANK, FSB,               (
                                       )
et al.,                                (
                                       )
                                       )
                                       (
            Defendants.                (
                                       )
                                       )
                                       (



           ORDER STRIKING PLAINTIFF’S “MOTION TO STRIKE”
      ORDER DENYING DEFENDANTS’ MOTION FOR A PROTECTIVE ORDER
 ORDER EXTENDING PLAINTIFF’S TIME TO RESPOND TO MOTION TO DISMISS
                                AND
                        ORDER TO SHOW CAUSE



            On May 19, 2010, Plaintiff John L. Bullock, a resident of

Memphis, Tennessee, filed a pro se Petition for Action to Quiet

Title in the Chancery Court for the Thirtieth Judicial District at

Memphis against World Savings Bank, FSB (“WSB”); Wachovia Mortgage

(“Wachovia”); Mary C. Reeder, a Senior Vice President at Wachovia

Mortgage (“Reeder”); the City of Memphis; Pamela Pope Johnson; and

Melissa Palo. (Docket Entry (“D.E.”) 1-1.) On June 24, 2010,

Defendants WSB, Wachovia, and Reeder removed the case to federal

court pursuant to 28 U.S.C. § 1441. (D.E. 1.)1




      1
            Defendants Johnson and Palo have not been served. In an order entered
on October 29, 2010, the Court dismissed the action against the City of Memphis.
(D.E. 14.)
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            On July 12, 2010, Defendants WSB, Wachovia, and Reeder

filed a motion to dismiss the complaint pursuant to Fed. R. Civ. P.

12(b)(6). (D.E. 8.) On August 3, 2010, Plaintiff filed document,

titled “Motion To Strike Dismissal of World Savings Bank, FSB,

Wachovia Mortgage, FSB, Sr. Vice President Mary C. Reeder” (D.E.

10), that appears to be a response to the motion to dismiss. The

certificate of service for this document states as follows:

      I, the Plaintiff, John L. Bullock, do hereby certify that
      on this 3rd day of August, 2010, a copy of the foregoing
      Motion to Strike Dismissal of World Savings Bank, FSB,
      Wachovia Mortgage, FSB, Senior Vice President Mary C
      Reeder, was electronically filed using the CM/ECF system
      and served on the following via Registered U.S. Mail:

      World Savings Bank, FSB, 4101 Wiseman Boulevard, San
      Antonio, TX 78251, To Wachovia Mortgage, FSB located at
      4101 Wiseman Boulevard, San Antonio, TX 78251 and THE
      CITY OF MEMPHIS and their Agents Linebarger Goggan Blair
      & Sampson, LLP, One Commerce Square, 40 South Main
      Street, Suite 2250, Memphis, Tennessee 38103, C/O Pamela
      Pope Johnson and Melissa Palo.

(Id. at 6.)

            Plaintiff’s certificate of service is defective because

a copy was not mailed to the attorney for Defendants WSB, Wachovia,

and Reeder. Pursuant to Fed. R. Civ. P. 5(b)(1), “[i]f a party is

represented by an attorney, service under this rule must be made on

the attorney unless the court orders service on the party.” These

parties are represented by counsel, but Plaintiff certifies that he

mailed copies of his motion directly to them, bypassing the

attorney who filed the motion to dismiss.2 Therefore, the Court


      2
            Plaintiff, as a pro se litigant, is not an authorized user of the
Court’s electronic case filing (“ECF”) system, and he cannot serve his papers
using that means.

                                      2
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STRIKES Plaintiff’s Motion to Strike. The Court EXTENDS Plaintiff’s

time to respond to the motion to dismiss. That response is due

fifteen (15) days from the date of entry of this order. All papers

filed by Plaintiff should be mailed or personally delivered to

counsel for all Defendants remaining in the case and must be

accompanied by a certificate of service.

            On July 12, 2010, Defendants filed a Motion for a

Protective Order Staying Discovery. (D.E. 9.) Plaintiff has not

responded to the motion, and the time for a response has expired.
Since the filing of this motion, a scheduling order has been

entered that sets a discovery deadline of February 11, 2011. (D.E.

11.) The parties may take discovery in accordance with the Federal

Rules of Civil Procedure. The motion for a protective order is

DENIED.

            As previously noted, Defendants Johnson and Palo appear

not to have been served. Pursuant to Fed. R. Civ. P. 4(m),

      [i]f a defendant is not served within 120 days after the
      complaint is filed, the court—on motion or on its own
      after notice to the plaintiff—must dismiss the action
      without prejudice against that defendant or order that
      service be made within a specified time. But if the
      plaintiff shows good cause for the failure, the court
      must extend the time for service for an appropriate
      period.

More than one hundred twenty (120) days have passed since this

action was removed from state court. Plaintiff is ORDERED to show

cause, within thirty (30) days from the date of entry of this

order, why the complaint against Defendants Johnson and Palo should




                                      3
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not be dismissed without prejudice pursuant to Fed. R. Civ. P. 4(m)

and 41(b).

             IT IS SO ORDERED this 10th day of December, 2010.



                                           s/Samuel H. Mays, Jr.
                                          SAMUEL H. MAYS, JR.
                                          UNITED STATES DISTRICT JUDGE




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